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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Plaintiffs Fund Texas Choice, The North
Texas Equal Access Fund, The Lilith Fund
for Reproductive Equity, Frontera Fund,
The Afiya Center, West Fund, Jane’s Due
Process, Clinic Access Support Network, and
Dr. Ghazaleh Moayedi, DO, MPH, FACOG,
                                                  Civil Case No. 1:22-cv-859
      Plaintiffs,
v.

KEN PAXTON, in his Official Capacity of
Attorney General; Susan R. Deski, in her
Official Capacity of County Attorney of
Burleson County, Texas, and on behalf of a
class of all Texas County Attorneys similarly
situated; and Julie Renken, in her Official
Capacity of District Attorney for
Washington County, Texas, Wiley B.
“Sonny” McAfee, in his Official Capacity of
District Attorney for Blanco, Burnet, Llano,
and San Saba Counties, Texas, Jose Garza
in his Official Capacity of District Attorney
for Travis County, Texas, and Fred H.
Weber, in his Official Capacity of District
Attorney for Caldwell County, and on behalf
of a class of all Texas District Attorneys
similarly situated,

      Defendants.


                PLAINTIFFS’ ORIGINAL CLASS ACTION COMPLAINT
                  FOR DECLARATORY AND INJUNCTIVE RELIEF1




1
  Plaintiffs assert claims against the named defendants and against two defendant classes in this
lawsuit, which are collectively referred to as the “Defendant Classes”).
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       Plaintiffs Fund Texas Choice, The North Texas Equal Access Fund, The Lilith Fund for

Reproductive Equity, Frontera Fund, The Afiya Center, West Fund, Jane’s Due Process, CASN,

and Dr. Ghazaleh Moayed, DO, MPH, FACOG, bring this complaint against the above-named

Defendants, and under Federal Rule of Civil Procedure 23, two Defendant classes of all Texas

District Attorneys and all Texas County Attorneys similarly situated (collectively, the “Defendant

Classes”), under the United States Constitution, the laws of the United States and the State of

Texas, 42 U.S.C. § 1983, and the Declaratory Judgment Act, 28 U.S.C.A. §§ 2201, 2202, to

challenge any criminal prosecution of Plaintiffs under Texas anti-abortion statutes for lawful

exercise of their constitutional rights. In support thereof, Plaintiffs allege the following:

                                     I.      INTRODUCTION

       1.      On June 24, 2022, the Supreme Court of the United State issued its opinion in

Dobbs v. Jackson Women’s Health Organization, No. 19-1392, 2022 WL 2276808 (U.S. June 24,

2022), reversing its prior holdings in Roe v. Wade, 410 U.S. 113 (1973) and Planned Parenthood

of Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992), as well as decades of precedent

upholding the constitutional right to abortion.

       2.      Leading up to and immediately following the Dobbs decision, reproductive justice

organizations, including Plaintiffs, were threatened by those who oppose a pregnant person’s2 right

to self-determination and reproductive healthcare. Agents of the State of Texas contend that




2
  Any person with a womb is capable of becoming pregnant. This group includes not only
women, but also non-binary and trans persons who do not identify as women, as well as children.
To include all of these groups, this Complaint refers to “pregnant people” or “pregnant Texans”
throughout. Although women are obviously targeted and marginalized by laws limiting their
personal autonomy, these laws also impact other marginalized individuals as well.
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virtually every activity of those who assist pregnant Texans to understand their rights and medical

options is now subject to criminal prosecution. The threats have been repeated and far-ranging,

and the intimidation has chilled helping professionals from providing counseling, financial,

logistical, and even informational assistance to pregnant Texans who may need to access abortion

care outside of the state.

        3.      The Texas Attorney General (“AG Paxton”) and his associates have undertaken a

concerted and coordinated effort to deprive all Texans (and non-Texans, too) of many of their

constitutional rights when those individuals and entities have any involvement with abortion, or

with helping a person to understand or access legal care. AG Paxton immediately declared that

pre-Roe statutes that criminalized abortion in Texas were in full force and effect, and activist

legislators and their associates have declared that reproductive justice groups were going to be

held liable for years of being complicit in murder, including for activities that were undertaken in

compliance with all federal and state law requirements at the time.

        4.      These efforts have not been limited to abortion itself; they have targeted those who

help pregnant Texans access legal healthcare by providing financial assistance, travel

arrangements, non-abortion healthcare, logistical support, and even information about accessing

legal care available in other places.

        5.      For instance, after sending myriad threats in the form of cease-and-desist letters,

social media posts, “tweets,” and other forms of communication, a group of Texas legislators that

comprise the “Texas Freedom Caucus” sent threatening letters to corporations and law firms who




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have promised to assist their staff in accessing legal care outside of Texas. One portion of a July

7, 2022 letter to the Sidley Austin law firm states:3




       6.      The letter goes on for four pages, and ultimately concludes with:




3
 A copy of the July 7, 2022 letter to Sidley Austin is attached as Exhibit A to this Complaint
and is fully incorporated by reference. The letter was released publicly by the Texas Freedom
Caucus and is available at
https://www.freedomfortexas.com/uploads/blog/3b118c262155759454e423f6600e2196709787a
8.pdf.
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       7.      The “litigation” referred to in the letter to Sidley Austin is a series of Rule 202

Petitions filed in Texas state courts, two targeting Plaintiffs here (Lilith Fund and TEA Fund), one

targeting executives at Whole Women’s Health and Alamo Women’s Reproductive Services,

another targeting a researcher at the University of Texas who studied self-managed abortions after

SB8, and one targeting Yvette Ostolaza, managing partner of Sidley Austin. These Rule 202

actions seek deposition testimony related to abortions the petitioners—all represented by Jonathan

Mitchell and Senator Bryan Hughes—apparently believe ran afoul of Texas’s Senate Bill 8

(“SB8”) and pre-Roe statutes. Messrs. Mitchell and Hughes previously drafted and Senator

Hughes sponsored SB8, which was famously separated from state enforcement in order to prevent

pre-enforcement judicial review by the federal courts. Whole Woman’s Health v. Jackson, __ U.S.

__, 142 S. Ct. 522, 211 L.Ed.2d 316 (2021).


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        8.       The 202 Petitions and the July 7 letter from the Texas Freedom Caucus mirror one

another in parts word-for-word, evidencing a partnership and/or coordinated effort between private

and state actors to intimidate Plaintiffs and others based on their willingness to help clients,

employees—or anyone else—access legal healthcare in another state.4

        9.       Plaintiffs in this action are Texas-based non-profit abortion funds and practical

support networks (organized under Internal Revenue Code § 501(c)(3)), and an individual doctor

who also serves as a board member on one of the non-profits, who seek a declaratory judgment

and injunction to declare null and void the application of Texas anti-abortion laws (Texas REV.

CIV. STATS. ANN. ART. 4512.1, 4512.2, 4512.3, 4512.4, 4512.65 ((“Pre-Roe Statutes”)) and TEXAS

HEALTH & SAFETY CODE § 170A.001, et seq. “Trigger Ban”) to Plaintiffs based upon Plaintiffs’

exercise of their First Amendment Constitutional rights and/or their well-established right to travel

interstate.

        10.      Texas currently has an intricate, contradictory, and complicated set of laws

regulating and outright banning abortion (and the Trigger Ban will soon add to that complexity).

In addition to the criminal prohibitions, Texas enacted SB8 in 2021, in which the state authorized

private individuals to police their neighbors by bringing civil lawsuits against anyone who “aided

or assisted” with abortions in Texas.

        11.      Just before Dobbs was decided, in anticipation of the decision and out of an

abundance of caution (largely due to the previous threats made against them), Plaintiffs paused all




4
  In jurisdictions in which District Attorneys have publicly promised not to prosecute abortion-
related crimes, SB8 works as a backstop to ensure providers and others are still chilled from
providing abortion-related assistance by possible liability in a civil suit under SB8.
5
  Previously codified at Tex. Pen. Code art. 1191, 1192, 1193, 1194, and 1196, respectively.
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activities assisting access to abortion care, including for care provided out of state. The non-profit

Plaintiffs have not provided direct abortion services (they never have), nor have they paid or

reimbursed any provider or other individual or entity for the provision of abortion services within

or outside of Texas. Dr. Moayedi also ceased providing all abortion care, both in Texas and in

other states where it remain legal an din which she is also licensed to practice medicine.

        12.     Plaintiffs wish to resume the following activities: (a) funding legal, out-of-state

abortions for pregnant Texans (i.e. including directly paying and/or reimbursing out-of-state

licensed providers of abortion services and providing financial aid to pregnant Texans for that

purpose); (b) providing informational materials and planning assistance (such as organizing and

funding transportation and lodging) to pregnant Texans for obtaining legal, out-of-state abortions;

and (c) transporting pregnant Texans to out-of-state licensed providers of safe, legal abortion. Dr.

Moayedi also wishes to resume her travel to other states to provide care to patients and she wishes

to provide care to patients in other states via telehealth practices from her location in Texas.

        13.     Despite Plaintiffs’ cessation of activities directly related to abortion, Texas state

actors have asserted that Plaintiffs engaged in criminal activity both before and after the issuance

of Dobbs. Specifically, Texas Legislators have threatened that abortion funds and their donors

will be prosecuted for murder. They have asserted retroactive application of the Pre-Roe statutes

against providers (not parties to this action) and abortion funds.

        14.     Texas state actors threaten criminal prosecution of Plaintiffs, their staff, volunteers,

and donors under both the Trigger Ban and the Pre-Roe statutes. If these statutes are construed as

expansively as asserted by Texas state actors (including the Attorney General) both sets of laws

violate the constitutional rights of Plaintiffs, their staff, volunteers, and donors. Further, the

differing statutory constructs conflict significantly and thus fail to provide fair notice to Plaintiffs,


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their staff, volunteers, and donors of the contours of criminal liability for activities Plaintiffs have

historically performed (prior to the Dobbs opinion) and wish to resume performing.

       15.     Plaintiffs seek to enjoin Defendants from applying Texas’s anti-abortion laws to

Plaintiffs for the legal exercise of their rights. Plaintiffs also seek a declaratory judgment declaring

unconstitutional, null and void the retroactive application of the Pre-Roe Statutes and to enjoin

Defendants from applying them against Plaintiffs, their staff, volunteers, and/or donors for conduct

that preceded the Dobbs decision.

                              II.     JURISDICTION AND VENUE

       16.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and 1343.

This is an action to enforce civil and constitutional rights arising under 42 U.S.C. § 1983 and the

United States Constitution.

       17.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201-2202, Rules 57 and 65 of the Federal Rules of Civil Procedure, and the general legal and

equitable powers of the Court, including the Court’s inherent authority to enforce the supremacy

of federal law as against contrary state law.

       18.     Venue is appropriate in this district under 28 U.S.C. § 1391(b)(1) and (b)(2)

because one or more of the Defendants resides in this judicial district and because a substantial

part of the events or omissions giving rise to Plaintiffs’ claims occurred in this judicial district.

       19.     This case is appropriately filed in the Austin Division because all Defendants

maintains offices in this division. Assignment to the Austin Division is also proper because several




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Plaintiffs maintain their headquarters in the Austin Division and serve Texans who reside in the

Austin Division.6

                                        III.   PARTIES

A.     Plaintiffs

       20.     Plaintiffs are non-profit entities that provide emotional, financial, logistical,

practical, and informational assistance to those who may become pregnant and need or choose to

consider abortion as an option, and an individual medical provider. Plaintiffs support reproductive

justice, which recognizes and supports the human right to maintain personal bodily autonomy,

have children, not have children, and parent children in safe and sustainable communities.

       21.     Reproductive justice is not just about abortion. Abortion access is critical, and

people of color, children, and other marginalized people also often have difficulty accessing

contraception, comprehensive sex education, STI prevention and care, alternative birth options,

adequate prenatal and pregnancy care, domestic violence assistance, adequate wages to support

our families, safe homes, and much more. Plaintiffs are reproductive justice-focused organizations

and individuals who have all altered their behavior following the Dobbs decision and the

associated threat of criminal prosecution under Texas law. They all want to resume their prior

activities as permitted by the United States Constitution and seek intervention from this Court to

allow them do so safely.




6
  Several other cases pending in the Western District of Texas are related to this case. Wendy
Davis et al., v. Mistie Sharp, et al., Cause No. 1:22-cv-00373-RP, Whole Women’s Health et al.
v. Jackson et al., Cause No. 1:21-cv-00616-RP, and United States of America v. Texas, Cause
No. 1:21-cv-00796-RP, are all pending in front of the Honorable Robert Pitman, and also
challenge Texas statutes regulating and/or prohibiting abortion, including Senate Bill 8.
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       22.     Plaintiff Fund Texas Choice’s (“FTC’s”) mission is to help Texans equitably access

abortion through safe, confidential, and comprehensive practical support. FTC is a nonprofit

organization incorporated in Texas that provides practical, logistical, and emotional support to

pregnant Texans seeking medical care, including legal health care within Texas and legal abortions

outside of Texas. FTC was founded in response to HB2, a 2013 Texas statute that shuttered over

half of the state’s abortion clinics, imposing long wait times on patients and forcing them to travel

long distances for care. In the past, FTC booked and directly paid for the transportation and

lodging of companions for minor clients or clients who have a fetal anomaly. FTC does not—and

never did—fund abortions directly.

       23.     The mission of Plaintiff The North Texas Equal Access Fund (“TEA Fund”) is to

foster reproductive justice. It historically provided financial, emotional, and logistical support for

abortion patients in North Texas. TEA Fund also provides education, information, advocacy and

activism on behalf of pregnant Texans in need of abortion care. Since the Dobbs decision, TEA

Fund has paused its funding of abortions as it tries to comply with Texas law, but it would like to

resume its constitutional activity. TEA Fund is a nonprofit organization incorporated in Texas and

based in North Texas.

       24.     Plaintiff The Lilith Fund for Reproductive Equity’s (“Lilith Fund’s”) mission is to

foster reproductive justice. Lilith Fund historically provided financial, emotional, and logistical

support for abortion patients in Central Texas. Its core values are compassion, intersectionality,

anti-racism, client-centeredness, inclusivity and collaboration. In addition to its historical funding

activities, Lilith Fund conducts educational and informational efforts, and provides advocacy and

activism in support of reproductive justice principles. Since the Dobbs decision, Lilith Fund has

paused its funding of abortions for Texans as it tries to comply with Texas law, but it would like


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to resume it constitutional activity. Lilith Fund is a nonprofit organization incorporated in Texas

and based in Central Texas.

        25.       Plaintiff Frontera Fund’s mission is also to foster reproductive justice.      It

historically provided financial, emotional, and logistical support for low-income abortion patients

in the Rio Grande Valley. In addition to its historical funding activities, Frontera Fund conducts

educational and informational efforts and provides advocacy and activism in support of

reproductive justice principles. Since the Dobbs decision, Frontera Fund has paused its funding

of abortions for Texans as it tries to comply with Texas law, but it would like to resume its

constitutional activity. Frontera Fund is a nonprofit organization incorporated in Texas and based

in South Texas.

        26.       Plaintiff The Afiya Center is a nonprofit organization incorporated in Texas and

based in Dallas. Its mission is to serve Black women and girls by transforming their relationship

with their sexual and reproductive health by addressing the consequences of reproductive

oppression. Since the Dobbs decision, The Afiya Center has also paused its funding of abortions

for Texans as it tries to comply with Texas law and because of the threat of potential prosection

since Dobbs was decided, but it would like to resume conducting its constitutionally protected

activities.

        27.       Plaintiff West Fund is a non-profit, grass-roots organization based in El Paso,

Texas. It was founded in November of 2013 after a variety of restrictions on abortion clinics were

imposed by the Texas Legislature. Its mission historically was to provide direct and/or supportive

funding to assist pregnant people seeking abortion services in El Paso, Texas; Ciudad Juarez,

Chihuahua, Mexico; and throughout southern and eastern New Mexico. It operates a Spanish and

English hotline through which it provides information to callers and does client intake, though it


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presently only does so in Mexico and New Mexico, where abortion remains legal. West Fund has

also collaborated with other Texas reproductive justice organizations to advance advocacy for

abortion access and engages in other political activities, with reproductive justice as its central

focus. It also provides comprehensive sexual education programs to high schoolers. West Fund

has previously funded and would like to resume funding reproductive healthcare, abortions, and

people who seek abortions. West Fund also openly communicates with the public regarding

abortion, voicing its support for abortion rights, advocating for reproductive freedom and

reproductive justice, and seeking the support of others who share the same values.

       28.     The mission of Plaintiff Jane’s Due Process (“JDP”) is to help ensure that young

people in Texas have full reproductive freedom and autonomy over their healthcare decisions.

Most young people involve a parent or guardian in their abortion decision if it is safe for them to

do so. JDP serves those who cannot—young people who have parents or guardians who are

deceased, incarcerated, or abusive; who are inclined to kick them out upon learning of their

pregnancy or plans for an abortion; or who would try to coerce them to carry to term. JDP is a

nonprofit organization incorporated in Texas, and it historically provided logistical, financial, and

emotional support to pregnant Texans seeking medical care, including legal health care within

Texas and legal abortions outside of Texas. JDP also used to provide funds to abortion providers

in Texas on behalf of young patients in the state to subsidize the cost of their care. Occasionally,

JDP also referred young people to abortion providers and secured the abortion appointments for

them. JDP has not conducted any of these activities since the decision in Dobbs was issued. JDP

would like to resume these activities in accordance with their constitutional rights, but are chilled

by the threats of potential criminal prosecution.




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       29.     Plaintiffs FTC, TEA Fund, Lilith Fund, Frontera Fund, The Afiya Center, West

Fund, and JDP are collectively referred to as the “Fund Plaintiffs” in this Complaint.

       30.     Plaintiff Clinic Access Support Network (“CASN”) is a predominantly volunteer,

consensus-based, non-hierarchical practical support network that has provided transportation,

meal stipends, accommodations, childcare and dependent care assistance, and support and

compassionate care to people seeking abortion services in Greater Houston Area and the Southeast

Texas region. CASN generates no revenue, charges no fees for its services, and exists purely out

of the generosity and commitment of its volunteers and staff to be of service to people in need.

CASN has previously provided, and wishes to continue to provide assistance to people in need of

an abortion, including pregnant Texans who need to access care outside of the state. It cannot

safely do so until the threat of criminal prosecution for those activities is removed.

       31.     Plaintiff Dr. Ghazaleh Moayedi, DO, MPH, FACOG, is a board-certified OB/GYN

and complex family planning specialist who resides in Texas. She holds active licenses from the

relevant medical licensing authorities in 20 states, including Texas, and she is authorized to

practice medicine in all of those states. Historically, as part of her practice, Dr. Moayedi provided

abortions to Texans within the state in compliance with all applicable laws. She also provided

abortions to patients in other states in which she is licensed in accordance with all applicable laws

in those other states. Dr. Moayedi also wishes to provide abortion care via telemedicine to patients

in states where it is legal, from her location in Texas. The abortions she performed in other states

historically included patients from Texas, particularly when she provided abortions in states other

than Texas after Texas Senate Bill 8 became effective on September 1, 2021. Since the decision

in Dobbs, Dr. Moayedi stopped traveling to other states in which abortions remain legal because

she fears that performing any abortion on a Texas resident as a licensed Texas physician could


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subject her to criminal prosecution and/or threaten her license to practice medicine in Texas. Dr.

Moayedi is also a member of the Board of Directors for Plaintiff TEA Fund, and has historically

provided funding to assist Texans to obtain abortions. She has also paused that activity since the

Dobbs decision, but would like to resume all of her constitutionally protected activity.

        32.     All Plaintiffs openly communicate with the public regarding abortion, voicing

support for abortion rights and reproductive healthcare, advocating for reproductive freedom and

reproductive justice, and seeking the support of others who share the same values.

        33.     Each of the Fund Plaintiffs and CASN assert claims on behalf of itself, its staff,

volunteers, and donors. Each Fund Plaintiff and CASN have suffered a direct injury because (a)

they are being required to divert organizational resources to counteract the State of Texas’ threats

of criminal liability against it and its staff, volunteers, and donors; (b) their donors are chilled from

making financial donations—the source of their funding as a nonprofit organization—because of

threats of criminal prosecution against the donors; and, (c) each organization’s mission is being

frustrated. Each Fund Plaintiff and CASN are also suffering the imminent threat of additional

direct injury because, according to public representations by State actors, they are threatened with

criminal prosecution and civil and criminal penalties. Each Fund Plaintiff and CASN also have

representational standing based on injuries to their staff, volunteers, and donors, because at least

one of their staff, at least one of their volunteers, and at least one of their donors has standing; the

interests at stake are germane to their purpose; and, neither the claims nor the relief requested

requires participation of the organization’s individual staff, volunteers, or donors. As set forth

below, state actors’ public threats regarding enforcement show that, in addition to each Fund

Plaintiff and CASN themselves, their staff, volunteers, and donors are all likely targets of criminal

prosecution.


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B.     Defendants

       34.     Defendant Ken Paxton is the Attorney General of the State of Texas and may be

served at the Office of the Attorney General, 300 West 15th Street, Austin, Texas 78701.

Defendant Paxton is sued in his official capacity as Attorney General, and in that capacity, he has

authority to assist local prosecutors with criminal prosecutions upon request, TEX. GOV’T CODE

574.004, and he is authorized under the Trigger Ban to pursue a civil penalty of not less than

$100,000 for any violation of that law. TEX. HEALTH & SAFETY CODE 170A.005.

       35.     Defendant Julie Renken is an individual sued in her official capacity as the District

Attorney of Washington County, Texas. She may be served at Courthouse Annex, 110 S. Park

Street, Brenham, TX 77833.

       36.     Defendant Susan R. Deski is an individual sued in her official capacity as the

County Attorney of Burleson County, Texas and may be served at 100 West Buck Street, Suite

402, Caldwell, Texas 77836.

       37.     Defendant Wiley B. “Sonny” McAfee is an individual sued in his official capacity

as the District Attorney of Blanco County, Texas; the District Attorney of Burnet County, Texas;

the District Attorney of Llano County, Texas; and the District Attorney of San Saba County, Texas.

He may be served at 1701 E. Polk, Suite 24, Burnet, Texas 78611.

       38.     Defendant José Garza is an individual sued in his official capacity as the District

Attorney of Travis County, Texas and may be served at Ronald Earle Building, 416 West 11th St.,

Austin, Texas 78701.

       39.     Defendant Fred H. Weber is an individual sued in his official capacity as the District

Attorney of Caldwell County, Texas and may be served at 1703 S. Colorado Street, Lockhart,

Texas 78644.


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       40.     In their official capacities as District Attorneys, each DA Defendant is required to

“represent the State in all criminal cases in the district courts of his district.” TEX. CODE CRIM.

PROC. art. 2.01. Therefore, each DA Defendant has the sole authority of the State of Texas within

his or her respective districts to file and pursue criminal cases, including any cases charging a

violation of the Trigger Ban and/or Pre-Roe abortion statutes.

       41.     Burleson County, Texas does not have an elected DA position. As such, under

Texas statute, the County Attorney fulfills the duties traditionally required of a DA. TEX. CODE

CRIM. PROC. art. 2.02. In her official capacity as County Attorney for Burleson County, Texas,

County Attorney Deski therefore has the sole authority of the State of Texas within Burleson

County to file and pursue criminal cases, including any cases charging a violation of the Trigger

Ban and/or pre-Roe abortion statutes.

                             IV.     FACTUAL ALLEGATIONS

A.     Relevant Texas Laws

                           TEXAS’S PRE-ROE CRIMINAL ABORTION BAN

       42.     Prior to the Supreme Court’s opinion in Roe v. Wade, 410 U.S. 113 (1973), the

Texas Penal Code contained Articles 1191, 1192, 1193, 1194, and 11967 (collectively “Pre-Roe

Statutes”), under which abortion was criminalized.

       43.     Art. 1191 of the Texas Penal Code stated:

               If any person shall designedly administer to a pregnant woman or
               knowingly procure to be administered with her consent any drug or
               medicine, or shall use towards her any violence or means whatever




7
  Now codified at Tex. Rev. Stats. Ann. arts. 4512.1, 4512.2, 4512.3, 4512.4, and 4512.6
respectively.


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                 externally or internally applied, and thereby procure an abortion, he
                 shall be confined in the penitentiary not less than two nor more than
                 five years; if it be done without her consent, the punishment shall be
                 doubled. By ‘abortion’ is meant that the life of the fetus or embryo
                 shall be destroyed in the woman’s womb or that a premature birth
                 thereof be caused.

       44.       Art. 1192 stated, “Whoever furnished the means for procuring an abortion knowing

the purpose intended is guilty as an accomplice.” This accomplice liability is punishable by two

to five years in state penitentiary. Texas Penal Code art. 1192 (West 1961).

       45.       Texas courts interpreted “furnish[ing] the means for procuring an abortion” to apply

to providing drugs, medicine, or instruments that could produce an abortion, or committing

violence upon the pregnant person to bring about an abortion. See Fondren v. State, 169 S.W. 411,

414-16 (1914).

       46.       In Roe v. Wade, 410 U.S. 113, 164 (1973), the U.S. Supreme Court affirmed a

declaratory judgment that the Pre-Roe Statutes were unconstitutional. It held that no further relief

was necessary because the Court “assume[ed] the Texas prosecutorial authorities will give full

credence to this decision that the present criminal abortion statutes of that State are

unconstitutional.” Roe, 410 U.S. at 166.

       47.       Despite the Roe holding, which remained binding law until June 24, 2022, in the

Spring of 2021, the Texas Legislature included a legislative finding in Section 2 of Senate Bill 8,

87th Leg., Reg. Sess., popularly called the “Texas Heartbeat Act” (“SB 8”) that Texas “never

repealed, either expressly or by implication, the state statutes enacted before the ruling in Roe v.

Wade, 410 U.S. 113 (1973), that prohibit and criminalize abortion unless the mother’s life is in

danger.” S.B. 8 § 2 (Tex. 2021).




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       48.     Before and after the Dobbs opinion, Texas state actors have asserted that overruling

Roe would immediately resurrect these Pre-Roe Statutes. Specifically, Texas state actors have

continuously asserted that the Pre-Roe Statutes criminalize abortion funds, including Plaintiffs, for

all activities related to abortion, regardless of whether abortions take place in a jurisdiction outside

of Texas in which abortion is legal. Some state actors have gone so far as to contend that the Pre-

Roe Statutes should be enforced retroactively, based on the theory that courts do not have the

power to invalidate laws. Their tortured theory of constitutional law and federalism asserts that

the Pre-Roe Statutes were always in effect, but just lacked DAs with the executive will to enforce

them. Thus, these state actors and their associates contend that those who supported pregnant

Texans in obtaining abortions over the past 50 years can be prosecuted as long as the statute of

limitations has not expired under the Pre-Roe Statutes.

                                        TEXAS TRIGGER BAN

       49.     In July 2021, Texas also enacted an abortion ban that would go into effect on the

30th day after (1) the issuance of a Supreme Court opinion overruling Roe v. Wade, 410 U.S. 113

(1973) either wholly or in part; (2) the issuance of any other Supreme Court opinion “that

recognizes . . . the authority of the states to prohibit abortion;” or, (3) adoption of a constitutional

amendment that “restores to the states the authority to prohibit abortion.” 2021 Tex. Sess. Law

Serv. Ch. 800 (H.B. 1280), Sec. 3 (West); TEXAS HEALTH & SAFETY CODE § 170A.001, et seq.

       50.     The Trigger Ban prohibits any abortion except those performed by a licensed

physician to prevent the death or serious risk of substantial impairment of a major bodily function

of the pregnant person. TEXAS HEALTH & SAFETY CODE § 170A.002.

       51.     Violations of the Trigger Ban are felony crimes. TEXAS HEALTH & SAFETY CODE

§ 170A.004.


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       52.     The Trigger Ban also imposes a civil penalty of “not less than $100,000 for each

violation.” TEXAS HEALTH & SAFETY CODE § 170A.005. AG Paxton is authorized to pursue these

civil penalties on behalf of the State and has indicated his intent to do so.

       53.     As in SB 8, the Trigger Ban also includes a legislative finding that “the State of

Texas never repealed, either expressly or by implication, the state statutes enacted before the ruling

in Roe v. Wade, 410 U.S. 113 (1973), that prohibit and criminalize abortion unless the mother’s

life is in danger.” 2021 Tex. Sess. Law Serv. Ch. 800 (H.B. 1280), Sec. 4 (West).

       54.     The Trigger Ban addresses its effect on laws already in effect, stating “that conduct

is subject to a civil or criminal penalty under this chapter does not abolish or impair any remedy

for the conduct that is available in a civil suit.” TEXAS HEALTH & SAFETY CODE § 170A.006.

       55.     The Trigger Ban becomes effective on August 25, 2022.

        TEXAS PENAL CODE – CRIMINAL RESPONSIBILITY FOR THE CONDUCT OF ANOTHER

       56.     Texas defines criminal responsibility for the conduct of another in Section 7.02 of

the Penal Code. A person is criminally responsible for an offense committed by the conduct of

another if:

               (1)     acting with the kind of culpability required for the offense,
                       he causes or aids an innocent or nonresponsible person to
                       engage in conduct prohibited by the definition of the offense;

               (2)     acting with intent to promote or assist the commission of the
                       offense, he solicits, encourages, directs, aids, or attempts to
                       aid the other person to commit the offense; or

               (3)     having a legal duty to prevent commission of the offense and
                       acting with intent to promote or assist its commission, he
                       fails to make a reasonable effort to prevent commission of
                       the offense.

TEX. PENAL CODE ANN. § 7.02(a).



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                               TEXAS CRIMINAL JURISDICTION STATUTE

        57.     Texas also defines its state criminal jurisdiction by statute. Section 1.04(a) of the

Texas Penal Code provides the State with “jurisdiction over an offense that a person commits . . .”

if:

                (1)     either the conduct or a result that is an element of the offense
                        occurs inside this state;

                (2)     the conduct outside this state constitutes an attempt to
                        commit an offense inside this state;

                (3)     the conduct outside this state constitutes a conspiracy to
                        commit an offense inside this state, and an act in furtherance
                        of the conspiracy occurs inside this state; or

                (4)     the conduct inside this state constitutes an attempt,
                        solicitation, or conspiracy to commit, or establishes criminal
                        responsibility for the commission of, an offense in another
                        jurisdiction that is also an offense under the laws of this state.

TEX. PENAL CODE ANN. § 1.04(a).

                                        TEXAS SENATE BILL 8

        58.     SB8, which went into effect on September 1, 2021, authorizes private citizens to

bring a civil action in strict liability tort against any person who performs or “aids or assists” certain

abortions in Texas.

        59.     The civil liability provisions of SB8, which are contained in Section 171.208 of the

Texas Health & Safety Code, provide that a suit may be brought against a person who “performs

or induces an abortion in violation of this subchapter” or any person who “knowingly engages in

conduct that aids or abets the performance or inducement of an abortion…if the abortion is

performed or induced in violation of this subchapter…” TEXAS HEALTH & SAFETY CODE §

171.208(a)(1), (2).



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       60.     Section 171.201 provides the definitions that apply to certain terms within

Subchapter H of Chapter 171 of the Texas Health & Safety Code (the subchapter created by SB8).

It defines “physician” as “an individual licensed to practice medicine in this state…” TEXAS

HEALTH & SAFETY CODE § 171.201(4). Thus, when Section 171.204 prohibits “a physician” from

knowingly performing or inducing an abortion unless the test is done and no heartbeat is found,

that prohibition applies only to “individual[s] licensed to practice medicine in this state[.]” Id.

       61.     SB8’s civil liability provisions provide a means for private citizens to sue

physicians in Texas for performing post-cardiac activity abortions, and to sue any person who may

have “aided or assisted” such an abortion.

       62.     SB8 has been declared unconstitutional by a Texas MDL Court. The Defendants

in the MDL have taken an interlocutory appeal, which is pending before the Third Court of Appeals

in Austin.

       63.     SB8 was purposely drafted to avoid prospective judicial review by the federal

courts, which it has so far succeeded in doing.8 One of the bill’s authors, former Texas Solicitor

General, Jonathan F. Mitchell, was quoted in a recent news article:

               “We didn’t want bounty hunters filing lawsuits under SB 8,”
               Mitchell said in an email. “A bounty-hunter lawsuit would have
               provided an opportunity for a court to declare the statute
               unconstitutional.”

               “The entire point of SB 8,” he added, “was to prevent the judiciary
               from ruling on the constitutionality of the statute.” In other words,
               the loophole isn’t effective because it leads to lawsuits but because
               it creates the threat of them. “No one wanted to take the risk.”…




8
  See Paulsen, Stephen, The Legal Loophole that Helped End Abortion Rights, July 30, 2022,
accessible at https://www.courthousenews.com/the-legal-loophole-that-helped-end-abortion-
rights, attached as Exhibit B.
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                  “The Supreme Court is subject to checks and balances, just like the
                  other institutions of our government,” he said in an email. “There is
                  nothing wrong with a state enacting a law to evade judicial review.”9

B.        The U.S. Constitution Guarantees and Protects Plaintiffs’ Right to Travel Freely
          Among and Across State Borders.

          64.     The right to travel is a fundamental constitutional right of all citizens of the United

States. As the Supreme Court stated in Saenz v. Roe, 526 U.S. 489, 500 (1999):

                  The “right to travel” discussed in our cases embraces at least three
                  different components. It protects the right of a citizen of one State
                  to enter and to leave another State, the right to be treated as a
                  welcome visitor rather than an unfriendly alien when temporarily
                  present in the second State, and, for those travelers who elect to
                  become permanent residents, the right to be treated like other
                  citizens of that State.

          65.     Article IV, § 2 of the United States Constitution provides that “[t]he Citizens of

each State shall be entitled to all Privileges and Immunities of Citizens in the several States.”

          66.     The Fourteenth Amendment guarantees that:

                  [a]ll persons born or naturalized in the United States, and subject to
                  the jurisdiction thereof, are citizens of the United States and of the
                  state wherein they reside. No state shall make or enforce any law
                  which shall abridge the privileges or immunities of citizens of the
                  United States; nor shall any state deprive any person of life, liberty,
                  or property, without due process of law; nor deny to any person
                  within its jurisdiction the equal protection of the laws.”

U.S. CONST. AMEND. XIV.

          67.     The Constitution also provides that “Congress shall have Power . . . To regulate

Commerce with foreign Nations, and among the several States . . . .” U.S. CONST. ART. I, § 8, CL.




9
    See id.
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3. The positive grant of authority to Congress necessarily implies that states may not regulate

commerce “among the several States.”

        68.     Recognition of the right to travel dates back to the earliest period of self-

government in the United States, under the Articles of Confederation, Article IV, which guaranteed

the right of “free ingress and regress to and from” neighboring States.

        69.     The right to travel guarantees a citizen’s ability to journey into other states and

return to the citizen’s state of residence.

        70.     The right to travel also includes a newly-arrived or traveling citizen’s right to be

treated equally to the destination state’s residents and to receive the same services without

discrimination or classification.

        71.     Thus, under the United States Constitution, no state can enforce its criminal laws

to prevent citizens from traveling to or from another state without violating: (a) the Commerce

Clause; (b) the Privileges and Immunities clauses of both Article IV and the Fourteenth

Amendment; (c) the Due Process clauses of the Fifth and Fourteenth Amendments; and, (d) the

First Amendment. A state may not enforce its own criminal laws to prohibit conduct that occurs

in another state, where the conduct is legal. Moreover, as a matter of Texas law, application of the

Trigger Ban and the Pre-Roe abortion statutes to Texans’ travel out-of-state is barred by Texas’

own expression of the limits of its criminal jurisdiction.

C.      The U.S. Constitution Protects Plaintiffs’ Right to Freely Associate, Speak, and Fund
        Others’ Travel Across State Borders.

        72.     Plaintiffs and their staff, volunteers, and donors have First Amendment rights to

associate freely with each other and with pregnant Texans and to engage in expressive conduct,




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including providing funding for pregnant Texans to access out-of-state services that are legal

where rendered, including abortion.

       73.     Pregnant Texans, including those who seek Plaintiffs’ assistance, have

constitutional rights to travel to states where full reproductive care—including abortions—is legal.

       74.     Plaintiffs’ use of funds in furtherance of their missions is considered speech and is

protected by the First Amendment.

       75.     Charitable donations are a protected form of freedom of speech and association

under the First Amendment. Organizations and their donors have a strong privacy interest in their

affiliation—including the funding relationship—which is grounded in the First Amendment.

       76.     A law that subjects donors or volunteers to prosecution or civil liability on the basis

of their exercise of First Amendment rights (such as donating funds and/or time to a charitable

organization) violates the First Amendment, even if the organization itself were accused of illegal

activity. Elfbrandt v. Russell, 384 U.S. 11, 17 (1966).

D.     Irreparable Harm to Plaintiffs

       77.     On June 24, 2022, only hours after the Dobbs opinion was announced, AG Paxton

issued an advisory regarding the Trigger Ban and asserting that the Pre-Roe Statutes could be

enforced by DAs and County Attorneys immediately:

               … some prosecutors may choose to immediately pursue criminal
               prosecutions based on violations of Texas abortion prohibitions
               predating Roe that were never repealed by the Texas
               Legislature.[FN omitted]. … Under these pre-Roe statutes, abortion




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                providers could be criminally liable for providing abortions starting
                today.10

       78.      On June 28, 2022, AG Paxton confirmed this via tweet: “[b]ut w/ SCOTUS’s Dobbs

decision, these laws are 100% in effect & constitutional.”11

       79.      After release of Paxton’s Advisory, the Pre-Roe Statutes were added back into

Vernon’s Texas Civil Statutes, available on the Texas Legislature’s website, which also notes that

they were “held to have been impliedly repealed in McCorvey v. Hill, 385 F.3d 846 (5th Cir.

2004).”12

       80.      Although AG Paxton is the chief law enforcement authority in Texas (apart from

Governor Abbott), and although AG Paxton has the authority to bring civil actions under the

Trigger Ban, it is the District and County Attorney Defendants who have the sole power under the

Texas Constitution to bring criminal charges. State v. Stephens, No. PD-1032-20, ___ S.W.3d

___, 2021 WL 5917198, at *6-11 (Tex. Crim. App. Dec. 15, 2021) (finding statute granting

criminal enforcement power to the Attorney General to be unconstitutional and noting that these

powers are granted to County and District Attorneys). The Attorney General’s office nevertheless

offers opinions construing laws and advising Texas governmental officials regarding the effect of

certain laws, including criminal laws, and AG Paxton has done so here. Consequently, given the




10
   Ken Paxton, Advisory on Texas Law Upon Reversal of Roe v. Wade (June 24, 2022),
https://www.texasattorneygeneral.gov/sites/default/files/images/executive-management/Post-
Roe%20Advisory.pdf. (Attached as Exhibit C).
11
   This Tweet is still viewable as of the time of this filing on Attorney General Ken Paxton’s
Twitter timeline at https://twitter.com/KenPaxtonTX/status/1541877550653313024. (Attached as
Exhibit D).
12
   VERNON’S TEX. CIV. STATS. Ch. 6-1/2 (June 24, 2022), available at https://statutes.capitol
.texas.gov/Docs/SDocs/VERNON’SCIVILSTATUTES.pdf.
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State of Texas’s chief law enforcement officer’s position that the Pre-Roe Statutes are enforceable,

the threat of potential prosecution by the DA and County Attorney Defendants—none of whom

has disavowed the Attorney General’s position on the Pre-Roe Statutes—is presently chilling.

       81.        In fact, many Texas DAs have publicly indicated that they intend to enforce the

Pre-Roe Statutes and the Trigger Ban, and consider charges on a case-by-case basis as they do

other crimes.13

       82.        Members of the Texas Legislature have also confirmed their intention that the Pre-

Roe Statutes and Trigger Ban apply beyond the borders of Texas. The July 7, 2022 letter from the

Texas Freedom Caucus to Sidley Austin discussed in paragraphs 5-8, above, is just one example.

Prior to the issuance of the Dobbs opinion, Texas Representative Briscoe Rowell Cain III (“Cain”)

also asserted in cease-and-desist letters to Texas abortion funds (including Fund Plaintiffs) that

Texas abortion funds, their donors, employees, and volunteers are subject to prosecution under the

Pre-Roe Statutes. Specifically, in a letter to Plaintiff Lilith Fund, Representative Cain stated that

the Pre-Roe Statutes “continue[] to exist as the law of Texas,” that Lilith Fund was “committing

criminal acts,” and that these alleged criminal acts exposed everyone involved in Lilith Fund,

“including your employees, volunteers, and donors” to criminal prosecution and imprisonment.14




13
   J. David Goodman and Jack Healy, In States Banning Abortion, a Growing Rift Over
Enforcement, The New York Times (nytimes.com), June 29, 2022,
https://www.nytimes.com/2022/06/29/us/abortion-enforcement-prosecutors.html; Lauren Rangel,
Some Texoma District Attorneys Say they will Prosecute Abortion Cases, KXII (kxii.com), June
30, 2022, https://www.kxii.com/2022/06/30/some-texoma-district-attorneys-say-they-will-
prosecute-abortion-cases/; Oscar Saravia, Smith County District Attorney will Prosecute
Abortion-related Crimes Like any Other Case, Tyler Morning Telegraph (tylerpaper.com), July
2, 2022, https://tylerpaper.com/news/smith-county-district-attorney-will-prosecute-abortion-
related-crimes-like-any-other-case/article_6990012c-f71b-11ec-9ea4-a30dfafdd919.html.
14
   The Cain letter is attached as Exhibit E.
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       83.     Post-Dobbs, Representative Cain has continued to assert that abortion funds and

their donors will be prosecuted for murder. On June 28, Cain tweeted, in part, “[a]nyone

performing or aiding an abortion in TX (including abortion funds & donors) could face murder

charges.”15 On June 29, Cain retweeted a Texas Tribune tweet, adding “…they’re already facing

jail time for their criminal acts. #ProsecuteTexasAbortionFunds.”16 The same day, Representative

Cain retweeted a tweet about donating to abortion funds with an image of the pre-Roe statutes

recodified and wrote “[d]onating to a Texas abortion is a crime, punishable by 2-5 years

imprisonment. See article 4512.2, revised civil statutes. #ProsecuteTexasAbortionFunds.”17

Representative Cain also has asserted that there is no right to pay for another person to travel to

another state. On June 24, he tweeted a link to a Fortune Magazine article, noting “[h]ere’s

@FortuneMagazine confusing the right to interstate travel with the nonexistent right to pay for

another person to travel to another state.”18




15
   This Tweet was still viewable at the time of this filing at Briscoe Cain’s Twitter timeline at
https://twitter.com/BriscoeCain/status/1541977303219150848 and is attached as Exhibit F.
16
   This Tweet was still viewable at the time of this filing at Briscoe Cain’s Twitter timeline at
https://twitter.com/BriscoeCain/status/1542290615488204800 and is attached as Exhibit G.
17
   This Tweet was still viewable at the time of this filing at Briscoe Cain’s Twitter timeline at
https://twitter.com/BriscoeCain/status/1542232983142367240 and is attached as Exhibit H.
18
   This Tweet was still viewable at the time of this filing at Briscoe Cain’s Twitter timeline at
https://twitter.com/BriscoeCain/status/1540528410514046980 and is attached as Exhibit I. The
partially obscured Fortune Magazine link in the Tweet is https://fortune.com/2022/06/24/justice-
brett-kavanaugh-interstate-travel-abortions-constitutional-roe-v-wade-overturned/amp/. In other
litigation pending before this Court, Cain and his co-defendants in that matter also asserted that
the Pre-Roe Furnishing Statute is still operable that “there is no constitutional obstacle to
enforcing article 4512.2 against abortion funds and their donors…” [Wendy Davis, et al. v. Mistie
Sharp, et al., Case No. 1:22-cv-00373-RP pending in the Western District of Texas (hereafter
“Davis litigation”) Dkt. 39 pp. 8-9].


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       84.     Based on these and other public statements, Plaintiffs reasonably fear that any

assistance provided to a pregnant Texan who obtains an abortion that violates the terms of the Pre-

Roe Statutes or the Trigger Ban, even if the abortion occurs outside of the State of Texas, will

subject them to criminal prosecution. The public statements quoted and discussed above confirm

that multiple state actors in Texas believe that providing assistance to a Texan who elects to have

a medication abortion in another state violates Texas criminal law, if any part of the medication

regimen is ingested in Texas. See, e.g. paragraphs 80, 83-5.

       85.     Other public statements have created confusion and fear about whether direct

funding of surgical abortion procedures in other states would subject Plaintiffs to criminal

prosecution. And the language of the Pre-Roe Statues and the Trigger Ban applies directly to Dr.

Moayedi as a licensed medical provider in the State of Texas. What is now unclear given the

confusion created by Defendant Paxton and other state officials is whether Dr. Moayedi may treat

pregnant Texans in another state and provide elective surgical or medication abortions to those

patients in conformity with that state’s laws without being prosecuted in Texas for those actions.

Likewise, it is unclear if she may perform legal telemedicine abortion care services to other states

from her location in Texas.

       86.     Plaintiffs also reasonably fear that they will be criminally prosecuted for behaviors

that they undertook prior to June 24, 2022, when the Dobbs decision was issued. Until that date,

Roe v. Wade remained the law of the land and Plaintiffs conformed their behavior accordingly.

State actors in Texas, however, have publicly asserted that they believe the Pre-Roe Statutes, which

had been specifically declared to be unconstitutional in Roe, were capable of imposing criminal

liability for conduct undertaken before June 24, 2022. Indeed, several Plaintiffs have been

specifically targeted by Representative Cain and private citizens for conduct they engaged in prior


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to June 24, 2022 and the Texas Freedom Caucus has targeted Sidley Austin for providing travel

and other financial assistance to employees who traveled to obtain medication abortions in 2021.

See, e.g. paragraphs 5-6, 83-5.

       87.     Pursuant to this Court’s equitable powers and Federal Rule of Civil Procedure 65,

Plaintiffs are entitled to injunctive relief against AG Paxton in his official capacity and the DA and

County Defendants in their official capacity because the threat of impending criminal prosecution

and civil liability posed by the laws of Texas and the Defendants’ enforcement authority is causing

irreparable harm to Plaintiffs. That harm began immediately on June 24, 2022 when the Dobbs

decision was issued and AG Paxton declared that the Pre-Roe statutes were immediately effective.

Plaintiffs immediately ceased certain operations in fear that following the decision in Dobbs, they

could be criminally prosecuted under the Pre-Roe Statutes for behavior that was legal under the

prior laws of Texas and constitutionally protected, and if convicted receive a criminal sentence of

2-5 years.

       88.     The harm and threats to Plaintiffs will only grow in significance when the Trigger

Ban is added to the statutory web on August 25, 2022. On that date, they will face potential

criminal prosecution from the DA and County Attorney Defendants, and civil enforcement actions

from AG Paxton under yet another state law, this time for first degree felonies that carry with them

potential life sentences and minimum civil penalties of $100,000. Despite their strong desires and

commitment to assisting their fellow Texans, Plaintiffs will be unable to safely return to their prior

operations until it is made clear that Defendants have no authority to prosecute Plaintiffs or seek

civil penalties from them for their constitutionally protected behavior. The intrusion of Plaintiffs’

own constitutional rights is immediate and ongoing and the deprivation of constitutional rights for




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any period of time constitutes irreparable harm. De Leon v. Perry, 975 F. Supp. 2d 632, 663 (W.D.

Tex. 2014), aff’d sub nom. De Leon v. Abbott, 791 F.3d 619 (5th Cir. 2015).

       89.     Plaintiffs would suffer immediate and irreparable harm if AG Paxton and the DA

and County Attorneys Defendants, in their official capacities, are not enjoined from prosecuting

or encouraging prosecution of Plaintiffs. As set forth previously, the legal threat Defendants pose

is imminent. Given the State of Texas’ stated intent (through state actors, including AG Paxton)

to prosecute abortion funds and their staff, volunteers, and donors, the chilling effect on Plaintiffs,

their staff, volunteers, and donors (and the subsequent effect on their organizational funding) is

substantial. Plaintiffs will be irreparably harmed if Defendants are not enjoined before prosecution

against Plaintiffs (or their staff, volunteers, and/or donors) begins.

       90.     Plaintiffs are likely to prevail on the merits of this case and receive the requested

declaratory judgment, as well as equitable relief, attorneys’ fees, and costs of court. Plaintiffs’

case is purely legal, and the enforcement of the laws as to Plaintiffs is clearly unconstitutional.

       91.     Plaintiffs have no adequate remedy at law for Defendants’ threatened actions.

Specifically, money damages are insufficient to undo the threatened injury to Plaintiffs. Plaintiffs’

First Amendment rights and fundamental due process rights and rights to travel are at stake and

they cannot safely resume the exercise of their own constitutional rights until the threat of criminal

prosecution for doing so is eliminated.

       92.     The threatened injury to Plaintiffs outweighs any possible damages to Defendants.

Indeed, Defendants are not harmed by Plaintiffs’ conduct in any sense, nor by their exercise of

their fundamental, constitutional rights in conducting activities in support of their lawful

organizational missions. Defendants lose absolutely nothing by the issuance of an injunction.




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E.     Class Allegations

       93.     Plaintiffs bring this action against each of the named Defendants and as a class

action against certain of the named Defendants individually and as representatives of two

subclasses of persons (collectively, the “Defendant Classes”):

               a.         All elected District Attorneys in the State of Texas who have the authority

                          within their jurisdictions to enforce through criminal prosecutions the Pre-

                          Roe Statutes and the Trigger Ban (the “District Attorney Class”); and

               b.         All County Attorneys in counties that do not have an elected District

                          Attorney, and who have the authority within that jurisdiction to enforce the

                          criminal laws of Texas, which includes the Pre-Roe Statutes and the Trigger

                          Ban (the “County Attorney Class”).

       94.     This lawsuit is properly maintained as an action against the two Defendant Classes

under Federal Rule of Civil Procedure 23 (a) and 23(b)(1)(A).

       95.     Any separate actions commenced against individual District Attorneys or County

Attorneys for the purpose of challenging their enforcement of the Pre-Roe Statutes or the Trigger

Ban would create a risk of inconsistent or varying adjudications by the courts presiding over those

actions, which would affect individual class members and establish incompatible standards of

conduct for Plaintiffs.

       96.     Separate actions would also create a risk of putting Plaintiffs in the untenable

position of not knowing which of multiple, incompatible interpretations and rulings they must

comply with to avoid violating the law and risking criminal penalties and statutory damages.

       97.     Each of the 254 counties in the State of Texas has a position for a duly elected

District Attorney or a County Attorney who has the same criminal jurisdiction, and each of those


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individuals has exclusive jurisdiction to enforce the criminal laws of Texas within his or her

district. The members of the proposed District Attorney Class and County Attorney Class are

located in each of Texas’s 254 counties. Given the size of the class and this geographic dispersal,

it is impracticable to join all Texas District Attorneys and County Attorneys with power to enforce

the Pre-Roe Statutes and the Trigger Ban in order to provide protection to all potential defendants

in those actions.

       98.     Resolution of any one of the legal issues raised in this case will affect similarly

each member of the proposed District Attorney Class and County Attorney Class, by determining

whether, and to what extent, they may enforce the Pre-Roe Statutes and the Trigger Ban under the

U.S. Constitution and federal law. Moreover, the relief sought in this case does not turn on

circumstances specific to members of the proposed defendant classes. Accordingly, there are

questions of law common to the classes.

       99.     Defendant DAs Renken, McAfee, Garza, and Weber (collectively, the “District

Attorney Class Representatives”) are adequate class representatives for the District Attorney Class

because they each have exclusive authority within their jurisdictions to file criminal charges under

the pre-Roe Statutes and the Trigger Ban. Plaintiffs seek a declaratory judgment that the pre-Roe

Statutes and the Trigger Ban cannot be enforced by any Defendant, including the District Attorney

Class Representatives, in a manner that violates Plaintiffs’ rights to freely travel, freely associate,

freely speak, and freely support members of their communities through financial assistance, as

guaranteed by the United States Constitution and federal law.

       100.    Plaintiffs’ claims against each of the District Attorney Class Representatives and

the members of the proposed District Attorney Class are the dame. The defenses that the District

Attorney Class Representatives will raise will be typical of all members of the proposed District


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Attorney Class. The claims against which the District Attorney Class Representatives must defend

challenge the constitutionality of the Pre-Roe Statutes and the Trigger Ban and are asserted against

all members of the proposed District Attorney Class.          Further the District Attorney Class

Representatives and the other class members hold a common position with respect to Plaintiffs, a

position that is defined by statutory obligations and not by personal relationships. Therefore, any

defenses the District Attorney Class Representatives assert—and the legal theories on which they

are based—will be available to the other class members.

       101.    The District Attorney Class Representatives’ positions are aligned with that of the

other class members because all are authorized to enforce the Pre-Roe Statutes and the Trigger

Ban through criminal prosecutions. For purposes of this suit, the District Attorney Class

Representatives have no interests antagonistic to or in conflict with the interests of other members

of the proposed class. Because the authority of all District Attorneys with respect to the Pre-Roe

Statutes and the Trigger Ban are substantially the same, the District Attorney Class Representatives

will be able to fairly and adequately represent the interests of all Texas District Attorneys.

       102.    Defendant Deski is an adequate class representatives for the County Attorney Class

because she has exclusive authority within her jurisdictions to file criminal charges under the Pre-

Roe Statutes and the Trigger Ban. Plaintiffs seek a declaratory judgment that the Pre-Roe Statutes

and the Trigger Ban cannot be enforced by any Defendant, including Defendant Deski, in a manner

that violates Plaintiffs’ rights to freely travel, freely associate, freely speak, and freely support

members of their communities through financial assistance, as guaranteed by the United States

Constitution and federal law.

       103.    Plaintiffs’ claims Defendant Reski and the members of the proposed County

Attorney Class are the same. The defenses that Defendant Reski will raise will be typical of all


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members of the proposed County Attorney Class. The claims against which Defendant Reski must

defend challenge the constitutionality of the Pre-Roe Statutes and the Trigger Ban and are asserted

against all members of the proposed County Attorney Class. Further, Defendant Reski and the

other class members hold a common position with respect to Plaintiffs, a position that is defined

by statutory obligations and not by personal relationships. Therefore, any defenses Defendant

Reski asserts—and the legal theories on which they are based—will be available to the other class

members.

       104.    Defendant Reski’s positions are aligned with that of the other members of the

County Attorney Class because all are authorized to enforce the Pre-Roe Statutes and the Trigger

Ban through criminal prosecutions. For purposes of this suit, Defendant Reski has no interests

antagonistic to or in conflict with the interests of other members of the proposed class. Because

the authority of all County Attorneys with respect to the Pre-Roe Statutes and the Trigger Ban are

substantially the same, Defendant Reski will be able to fairly and adequately represent the interests

of all Texas County Attorneys who have authority to enforce the Pre-Roe Statutes and the Trigger

Ban through criminal prosecutions.




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       V.      CLAIMS FOR DECLARATORY AND INJUNCTIVE RELIEF
              UNDER 42 USC § 1983 AND DECLARATORY JUDGMENT ACT19

Count I:        The Trigger Ban and Pre-Roe Statutes Violate Dr. Moayedi’s and CASN’s
                Staff’s and Volunteers’ Rights to Travel

       105.     Plaintiffs Dr. Moyaedi and CASN bring this claim against all Defendants.

       106.     The right to travel is guaranteed to all United States citizens as one of the

“Privileges and Immunities of Citizens in the several States.” U.S. Const., Article IV, § 2.

       107.     States are prohibited from making or enforcing any law that “abridge[s] the

privileges or immunities of citizens of the United States; nor shall any state deprive any person of

life, liberty, or property, without due process of law; nor deny to any person within its jurisdiction

the equal protection of the laws.” U.S. Const. amend. XIV.

       108.     Under the Constitution, states are also prohibited from regulating interstate

commerce, or from preventing or otherwise harming interstate commerce.

       109.     Prior to the decision in Dobbs, Dr. Moayedi routinely traveled to and from other

states in order to perform abortion procedures for patients in those states (and in compliance with

all applicable laws in those states). On many occasions, the patients to whom she provided care

in states other than Texas were pregnant Texans. Since Dobbs was decided and in anticipation of

the Trigger Ban becoming effective, Dr. Moayedi has stopped traveling to other states to provide

abortion procedures to pregnant Texans. Because of the threat of criminal prosecution under the




19
   The Declaratory Judgment Act has, since its inception, provided a mechanism for relief in
situations where a litigant might otherwise have to subject themselves to coercive action or
looming litigation in order to secure constitutional or legal rights before irreparable harm occurs.
See Aetna Life Ins. Co. of Hartford, Conn. v. Haworth, 300 U.S. 227, 243 (1937) (finding federal
courts had jurisdiction over insurer’s declaratory judgment cause of action where, had the
insured sued in contract, it was clear that the controversy would have been justiciable).
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Pre-Roe Statutes and the criminal liability that will be imposed by the Trigger Ban on her as a

medical provider licensed by the State of Texas, she is afraid that performing any abortion

procedure on any Texan outside of the State of Texas will subject her to criminal prosecution by a

member of the DA or County Attorney Classes and to civil penalties pursued by AG Paxton.

       110.    Dr. Moayedi wishes to immediately resume her travel to and from other states to

assist her patients—including pregnant Texans—but she cannot safely do so without relief from

this Court. She is chilled by these threats from doing what the Constitution guarantees any citizen

may do: travel to another state and engage in lawful commerce and activities while she is there,

protected by the privileges and immunities of the state she is visiting.

       111.    Staff and volunteers for CASN also regularly traveled both within Texas and from

Texas to other states to assist pregnant Texans seeking abortion care, but have stopped doing so

following the decision in Dobbs. Those staff and volunteers wish to resume such direct travel

assistance.

       112.    Although CASN believes that they have standing based upon the standing of their

boards, staffs, and volunteers, since these are constituents of the CASN organization, CASN also

has associational standing, because (1) at least one of its staff, volunteers, or members did—or at

least used to—travel with or provide transportation assistance to people seeking abortions and/or

would presently be doing so but for the threats created by the current law; (2) the interest of its

staff, volunteers, or members in assisting pregnant Texans in obtaining legal abortions in other

states is directly tied to CASN’s purpose as described above in Section III.A.; and (3) there is no

obvious reason why, apart from providing testimony, it would be necessary for individual staff,

volunteers, or members to be made parties to this lawsuit.




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        113.    Texas state actors’ statements interpreting the scope of potential enforcement of the

Trigger Ban and the Pre-Roe Statutes show an intent to enforce the Trigger Ban and/or Pre-Roe

Statutes against CASN’s staff, volunteers, and persons similarly situated, who travel between

Texas and another state to assist pregnant Texans seeking abortions in other states where they

continue to be legal, or who assist pregnant Texans with travel in order to seek legal abortion care.

        114.    Based on the activities and statements made by Defendants and other

representatives of the State, CASN’s staff and volunteers have a reasonable fear of being

prosecuted under the Trigger Ban statutes and/or Pre-Roe Statutes if they assist pregnant Texans

in traveling to another state to obtain a legal abortion.

        115.    Enforcement of the Trigger Ban and Pre-Roe Statutes against CASN’s staff and

volunteers, citizens who travel between Texas and another state in interstate commerce, violates

CASN’s staff and volunteers’ right to travel and/or infringes upon their rights to assist others with

interstate travel.

        116.    Interpreting the Pre-Roe Statutes and Trigger Ban to criminalize CASN’s staff and

volunteers’ travel for the purpose of assisting a pregnant Texans seeking abortion care violates

Plaintiff’s staff and volunteers’ right to travel and to exercise the “Privileges and Immunities” of

citizenship under the Fourth Amendment.

        117.    Interpreting the Pre-Roe Statutes and Trigger Ban to criminalize CASN’s staff and

volunteers’ travel for the purpose of assisting pregnant Texans seeking abortion care constitutes a

State attempting to “enforce a law abridg[ing] the privileges or immunities of citizens of the United

States.” Texas is also classifying citizens, CASN’s staff and volunteers, based on the purpose of

their travel, therefore denying the equal protection of the laws to persons within its jurisdiction, in

violation of the Fourteenth Amendment.


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       118.    Interpreting the Pre-Roe Statutes and Trigger Ban to criminalize CASN’s staff and

volunteers’ travel for the purpose of assisting pregnant Texans seeking abortion care constitutes

an attempt by Texas to regulate commerce “among the several States,” which authority the

Constitution grants only to Congress. Likewise, interpreting those statutes to prohibit citizens

from assisting Texans’ travel generally also constitutes an unconstitutional attempt by Texas to

regulate interstate commerce.

       119.    The right to travel is implicated for both Dr. Moayedi and CASN’s staff and

volunteers personally, and is also impacted for their patients and clients in need of assistance. To

the extent the right of the pregnant Texan seeking help is implicated, Dr. Moayedi and CASN also

have a First Amendment right to assist with that constitutionally-protected activity.

       120.    The Pre-Roe Statutes and Trigger Ban are both facially invalid and void as applied

to Plaintiffs Moayedi and CASN.

Count II:      Criminalization of Financial Assistance for Pregnant Texans’ Travel Out of
               State to Obtain Legal Abortion Violates Plaintiffs’ First Amendment Rights.

       121.    All Plaintiffs bring this claim against all Defendants.

       122.    Criminalization of the type of assistance provided by Plaintiffs—financial

assistance, transportation, accommodations, and emotional support—to pregnant Texans seeking

an abortion violates Plaintiffs’ fundamental First Amendment rights.

       123.    Plaintiffs’ activity in funding travel for pregnant Texans to obtain healthcare that is

legal where it is sought is protected First Amendment conduct, and Defendants’ attempt to use

Texas criminal law to chill that activity is unconstitutional.




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       124.    Likewise, Defendants’ attempt to use Texas criminal law to chill Plaintiffs’

relationships with their donors, employees, and volunteers, violates the freedom of expressive

association protected by the First Amendment.

       125.    Where a state statute infringes upon a fundamental right, such as the right to

speech—which includes financial assistance to pregnant Texans—the state must show the statute

is narrowly tailored to serve a compelling state interest.

       126.    The State of Texas does not have a compelling state interest in criminalizing or

preventing Plaintiffs’ provision of transportation and emotional support (or financial assistance for

transportation or other material aid) for pregnant Texans seeking abortion care.

       127.    Neither the Trigger Ban nor the Pre-Roe Statutes are narrowly tailored to serve a

compelling state interest and they are unconstitutional violations of Plaintiffs’ rights.

       128.    The Trigger Ban and the Pre-Roe Statutes should therefore be enjoined because

financial assistance, travel assistance, practical, logistical and emotional support, as well as

information sharing and advocacy are all protected conduct under the First Amendment.

       129.    The Trigger Ban and Pre-Roe Statutes are unconstitutional both facially and as

applied to the assistance provided by Plaintiffs to those seeking legal abortion care.

Count III:     Texas’s Threatened Enforcement of the Pre-Roe Furnishing Statute Violates
               Plaintiffs’ First Amendment Free Speech Rights.

       130.    All Plaintiffs bring this claim against all Defendants.

       131.    The First Amendment to the United States Constitution guarantees its citizens the

right to free speech, assembly, association, and petition. U.S. Const. amend. I.

       132.    The State has threatened enforcement of the Pre-Roe Furnishing Statute (for

“furnishing the means” for procuring an abortion) against Plaintiffs for providing information and



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funds to its clients for lawful out-of-state activities. Such targeted enforcement against Plaintiffs

and their staff, volunteers, and donors on the basis of the content of their speech and conduct and

the nature of their association violates their rights of association and free speech.

       133.    There is no bar to speaking and providing information just because the underlying

conduct is illegal in one state, but not in another, and one can demonstrate and petition to change

the law. These are fundamental tenets of the First Amendment.

       134.    Because Plaintiffs’ use of funds is considered speech, banning this use of funds on

the basis of their intended purpose is a violation of Plaintiffs’ free speech rights.

       135.    Plaintiffs have representational standing to assert the rights of their employees,

volunteers, and donors.

       136.    Plaintiffs’ desired activity in funding abortion where it is legal is protected First

Amendment activity.

       137.    Plaintiffs’ activity in supporting Texans seeking legal abortion care in other

financial, logistical, and practical ways is also protected First Amendment activity.

       138.    Likewise, Defendants’ attempt to use Texas criminal law to threaten to chill

Plaintiffs’ relationships with their donors, employees, and volunteers, violates the freedom of

expressive association protected by the First Amendment.

       139.    The State’s threatened enforcement of the Pre-Roe Furnishing Statute against

Plaintiffs, their staff, volunteers, and donors chills exercise of their protected First Amendment

associational rights.

       140.    The State’s threatened enforcement of the Pre-Roe Furnishing Statute against

Plaintiffs’ donors for funding Plaintiffs’ activities through charitable donations chills the donors’

First Amendment rights of speech and association.


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        141.    Any enforcement of the Pre-Roe Furnishing Statute that forces disclosure of

Plaintiffs’ donors would also violate their First Amendment rights of association.

        142.    Enforcement of the Pre-Roe Furnishing Statute against Plaintiffs, their employees,

volunteers or donors is targeted precisely at the speech acts that they have undertaken, including

providing funding and other assistance to pregnant Texans.

        143.    Therefore, the Pre-Roe Furnishing Statute is facially unconstitutional, contains

content-based restrictions that are subject to strict scrutiny, and is retaliatory in that it provides for

civil and criminal penalties for engaging in speech in which the State disagrees.

        144.    The Pre-Roe Furnishing Statute is unconstitutional because the First Amendment

protects:

                a.      The right to speak out, petition, demonstrate, advocate, and provide
                        information about abortion and the state of abortion laws;

                b.      The right to offer aid (monetary and otherwise);

                c.      The right to political donation;

                d.      The right to discuss and associate;

                e.      The right to contribute;

                f.      The right to free expression; and

                g.      Freedom of the press and publication of materials by Plaintiffs.

        145.    Plaintiffs are entitled to a declaratory judgment as to each of these subparts and

protections of the First Amendment for the infringement of the Furnishing Statute on their

constitutional rights, as well as to injunctive relief.

        146.    The Pre-Roe Statutes are unconstitutional both facially and as applied to Plaintiffs’

protected First Amendment activities.



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Claim IV:      Texas’s Threatened Enforcement of the Trigger Ban Violates Plaintiffs’ First
               Amendment Free Speech Rights.

       147.    All Plaintiffs bring this claim against all Defendants.

       148.    The State has threatened enforcement of the Trigger Ban (via TEXAS PENAL CODE

§ 7.02(a)) against Plaintiffs for providing information and funds to their clients for out-of-state

activities that are lawful where conducted. This targeted enforcement against Plaintiffs and their

staff, volunteers, and donors on the basis of the content of their speech and conduct and the nature

of their association violates their right of association and free speech.

       149.    Because Plaintiffs’ use of funds is considered speech, banning the use of funds on

the basis of their intended purpose is a violation of Plaintiffs’ free speech rights.

       150.    Plaintiffs’ activity in funding abortions that occur lawfully out of state is protected

by the First Amendment.

       151.    Plaintiffs’ activity in providing truthful information to pregnant Texans is protected

by the First Amendment.

       152.    Plaintiffs’ activity in providing other financial, logistical, practical and emotional

assistance to Texans in obtaining legal abortion care is also protected by the First Amendment.

       153.    Likewise, Defendants’ attempt to use Texas criminal law to threaten to chill

Plaintiffs’ relationships with their donors, employees, and volunteers, violates the freedom of

expressive association protected by the First Amendment.

       154.    Plaintiffs have representational standing to assert the rights of their employees,

volunteers, and donors.

       155.    The State’s threatened enforcement of the Trigger Ban against Plaintiffs, their

employees, volunteers, and donors chills association between them.


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        156.    The State’s threatened enforcement of the Trigger Ban against Plaintiffs’ volunteers

and donors for funding Plaintiffs’ activities through charitable donations chills the donors’ First

Amendment rights of speech and association.

        157.    Any enforcement of the Trigger Ban that forces disclosure of Plaintiffs’ donors

would also violate their First Amendment associational rights.

        158.    Enforcement of the Trigger Ban against Plaintiffs, their staff, volunteers and/or

donors is for precisely the speech acts that they have undertaken, including providing funding and

other assistance to pregnant Texans.

        159.    Therefore, the Trigger Ban, if enforced against Plaintiffs for “criminally

responsible conduct of another,” is facially unconstitutional contains content-based restrictions

that are subject to strict scrutiny, and is retaliatory in that it provides for civil and criminal penalties

for engaging in speech with which the State disagrees.

        160.    The court should enjoin the Trigger Ban to the extent that it seeks to criminalize

the First Amendment conduct of the Plaintiffs.

        161.    The Trigger Ban is unconstitutional because the First Amendment protects:

                a.      The right to speak out, petition, demonstrate, advocate, and provide
                        information about abortion and the state of abortion laws;

                b.      The right to offer aid (monetary and otherwise);

                c.      The right to political donation;

                d.      The right to discuss and associate;

                e.      The right to contribute;

                f.      The right to free expression; and

                g.      Freedom of the press and publication of materials by Plaintiffs.



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        162.    Plaintiffs are entitled to a declaratory judgment as to each of these subparts and

protections of the First Amendment for the infringement of the Trigger Ban on their constitutional

rights, as well as to injunctive relief.

        163.    The Trigger Ban is unconstitutional both facially and as applied to Plaintiffs’

protected First Amendment activities.

Count V:        Retroactive Application of the Pre-Roe Statutes is Unconstitutional.

        164.    All Plaintiffs bring this claim against all Defendants.

        165.    The Pre-Roe Statutes were struck down and rendered void by the Roe v. Wade

decision in 1973.

        166.    Any construction of the Pre-Roe Statutes that allows their retroactive application to

conduct that was expressly lawful under Roe v. Wade until its overruling by Dobbs would create

an Ex Post Facto criminal law.

        167.    Retroactive enforcement of Pre-Roe Statutes violates the Constitution’s Ex Post

Facto Clause and Due Process Clause.

        168.    “[A]n unforeseeable judicial enlargement of a criminal statute, applied

retroactively, operates precisely like an ex post facto law, such as Art. I, s 10, of the Constitution

forbids.” Bouie v. City of Columbia, 378 U.S. 347, 353 (1964). State legislatures are barred by

the Ex Post Facto Clause of the Constitution from passing such laws, and similarly the Courts are

barred by the Due Process Clause from achieving the same result by judicial construction.

        169.    “The fundamental principle that ‘the required criminal law must have existed when

the conduct in issue occurred,’ Hall, General Principles of Criminal Law (2d ed. 1960), at 58-59,

must apply to bar retroactive criminal prohibitions emanating from courts as well as from

legislatures.” Id. at 354.


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Count VI:       The Texas Pre-Roe Furnishing Statute and Trigger Ban are Void for
                Vagueness.

        170.    All Plaintiffs bring this claim against all Defendants.

        171.    The Texas Pre-Roe Furnishing Statute and Trigger Ban are also void for vagueness.

        172.    The Texas Pre-Roe Furnishing Statute and Trigger Ban are too vague for the

average citizen to determine what persons are regulated, what conduct is prohibited, and what

penalties may be imposed.

        173.    The Texas Pre-Roe Furnishing Statute and Trigger Ban are also void for vagueness

because they impose on Plaintiffs’ rights under the First Amendment.

        174.    Because the Texas Pre-Roe Furnishing Statute and Trigger Ban violate Plaintiffs’

constitutional rights, they cannot be enforced. The statutes burden Plaintiffs by depriving them of

their constitutional rights to be apprised of laws that they may be held liable for and by impairing

their ability to redress and assert their rights in defense.

Count VII:      The Texas Pre-Roe Statutes, SB8, and the Trigger Ban Cannot and Do Not
                Apply to Abortion Care Obtained Outside of Texas.

        175.    All Plaintiffs bring this claim against all Defendants.

        176.    The Pre-Roe Statutes and the Trigger Ban do not provide for any extraterritorial

application of those laws.

        177.    The language of SB8 confirms that only Texas-licensed physicians can be

principally liable, yet its fee-shifting provision codified in the Texas Civil Practice and Remedies

Code omits that specificity.

         178. Thus, the scope of abortion prohibited by Texas law applies only to abortions

performed or obtained in Texas, and in the case of SB8, which are performed by a Texas-licensed

physician.


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         179. Texas Penal Code Section 7.02 provides that a person can only be liable if a

principal first commits an offense. The abortion offense under the Trigger Ban (TEX. HEALTH &

SAFETY CODE ANN., § 170A.002) applies to a person “knowingly perform[ing], induc[ing], or

attempt[ing] an abortion,” and the general criminal territorial jurisdiction statute in Texas Penal

Code Section 1.04 does not extend to conduct undertaken outside of Texas.

         180. Likewise, the Pre-Roe Furnishing Statute is an accomplice statute, and no one can

be charged as an accomplice unless there is a guilty principal, as the Texas Court of Criminal

Appeals has determined. See, e.g., Moore v. State, 40 S.W. 287, 290 (Tex. Crim. App. 1897)

(analyzing the “furnishing” statute and noting “[w]e cannot have an offense that could be

committed by an accomplice without a principal.”).

         181. SB8 likewise only applies to abortions performed by a physician in Texas. Section

171.201 of the Texas Health & Safety Code provides the definitions that apply to certain terms

within Subchapter H of Chapter 171 (the subchapter created by SB8). It defines “physician” as

“an individual licensed to practice medicine in this state…” Id. at § 171.201(4). Thus, when

Section 171.204 prohibits “a physician” from knowingly performing or inducing an abortion

unless the test is done and no heartbeat is found, that prohibition applies only to “individuals

licensed to practice medicine in this state[.]”

         182. The Fee-Shifting Provision of SB8 is therefore also subject to this limitation in

scope.

Count VIII: Texas’s Abortion Statutes Cannot Reach Medical Care Provided to Patients
            Outside of Texas.

         183. Plaintiff Dr. Moayedi brings this claim against all Defendants.

         184. Dr. Moayedi is licensed in 20 states, including Texas.



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        185. Telemedicine care is “provided” in the jurisdiction in which the patient resides,

according to the billing requirements of the Center for Medicare Services and the Health & Human

Services Department. Specifically, Place of Service (POS) is equal to what it would have been

had the service been furnished in person.

        186. The jurisdictional reach of the Texas Pre-Roe Statute and Trigger Ban does not

contemplate abortions occurring outside of Texas. Indeed, the Pre-Roe Statute was passed more

than a century before telemedicine became possible. Likewise, the general criminal jurisdictional

statute does not extend to abortions occurring beyond Texas’s borders.

        187. Construction of the Texas Abortion Bans to reach abortions obtained by patients in

other states violates the constitutional prohibitions against regulation of interstate commerce.

        188. Construction of the Texas Abortion Bans to reach the practice of medicine provided

pursuant to the licensure and laws governing another state, regardless of the location of the

provider at the time, is also prohibited by the Interstate Commerce Clause of the United States

Constitution, and otherwise preempted by federal law.

        189. The Texas Abortion Bans are unconstitutionally vague because they fail to apprise

physicians of what conduct is prohibited and to provide notice comporting with due process.

        190. Physicians providing care cannot constitutionally be subjected to the criminal laws

of one state for care provided in another state or for a patient located in another state, regardless

of the physical location of the physician, pursuant to the Due Process Clause of the U.S.

Constitution.

        191. Plaintiff Dr. Moayedi is thus entitled to a declaratory judgment that she cannot be

subjected to Texas Abortion Bans for care she provides outside of Texas, or to patients receiving

abortion care via telemedicine outside of Texas, regardless of where Moayedi may be located at


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that time to the extent Defendants threaten criminal or civil sanctions, and to injunctive relief

providing the same.

Count IX:      SB8’s Fee-Shifting Provision is Preempted.

       192.    All Plaintiffs bring this claim against all Defendants.

       193.    Section 4 of Texas’s SB8 creates a one-way fee-shifting provision applicable to any

person—including a party’s lawyers—who seeks declaratory and/or injunctive relief to prevent

enforcement of any “law that regulates or restricts abortion” or any law excluding those who

“perform or promote” abortion from participating in public funding programs. TEX. CIV. PRAC. &

REM. CODE 30.022(a).

       194.     Civil rights plaintiffs—including Plaintiffs in this action—could be forced to pay

defense attorneys’ fees unless they prevail on all claims. If a court dismisses claims brought by

the civil-rights plaintiff, regardless of reason for dismissal, or enters judgment for the opposing

party, the party defending the abortion restriction is deemed to prevail. Id. at § 30.022(b)(1)-(2).

       195.    Section 4 of SB8 does not explicitly limit fees to what is reasonable, unlike other

fee-shifting statutes such as 42 U.S.C. § 1988. It also purportedly applies in both state and federal

courts and to both state and federal claims, including Section 1983 claims brought to vindicate

federal constitutional rights. But there is already a comprehensive fee-shifting statute for such

claims: 42 U.S.C. § 1988.

       196.    For claims brought under 42 U.S.C. § 1983, the fee-shifting scheme set forth in

Section 4 of SB8 is preempted by 42 U.S.C. § 1988.

       197.    Because the fee-shifting scheme set forth in SB8 is preempted by 42 U.S.C. § 1988,

it is null and inapplicable to this proceeding.




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        198.    Plaintiffs specifically request the recovery of costs and reasonable attorney fees

under 42 U.S.C. § 1988 when they prevail in this case.

Count XI:       SB8’s Fee-Shifting Provision is Unconstitutional.

        199.    All Plaintiffs bring this claim against all Defendants.

        200.    SB8’s fee-shifting provision also violates the First Amendment’s guarantee of the

right to petition the government for redress of grievances and makes the courts inaccessible to

potential plaintiffs who must choose between challenging an unconstitutional law, living under an

existential threat to their operations, conduct, and freedom, or possible bankruptcy.

        201.    Section 30.022’s imposition of joint and several liability for attorneys’ fees on

litigants and attorneys/firm that take on challenges to abortion laws, including retroactively,

restrict Plaintiffs’ rights (and the rights of other citizens) to access the courts.

        202.    Section 30.022 imposes all financial risks and burdens of seeking any kind of legal

redress onto one set of litigants (which includes Plaintiffs)—namely those seeking to challenge the

provisions of any Texas law or regulation affecting abortion.

        203.    These provisions create an automatic conflict between a litigant and her attorney.

Any attorney who agrees to present a constitutional defense or mount a proactive challenge to the

constitutionality of SB8 subjects herself and her firm to joint and several liability for the attorneys’

fees incurred by the opposing party in the case. These provisions force an attorney to choose

between the best interests of her client and liability under SB8 or to refuse to represent a client at

all. These provisions further prevent a litigant from redressing constitutional deprivations of rights

by significantly burdening her ability to obtain counsel.

        204.    The fee-shifting provisions of SB8 violate the Frist Amendment protections in the

United States Constitution.


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                                  VI.     RELIEF REQUESTED

       WHEREFORE, Plaintiffs respectfully pray for the following relief:

       1.       That this Court determine this lawsuit may be maintained as a defendant class

                action under Federal Rule of Civil Procedure 23 and that this Court certify the

                District Attorney Class and the County Attorney Class and designate certain named

                Defendants as the representative of the District Attorney Class and the County

                Attorney Class;

       2.       Preliminary and permanent injunctions:

                a.     Restraining, enjoining, and prohibiting the named Defendants and members

                       of the Defendant Classes all persons acting on behalf of or in concert with

                       the named Defendants and members of the Defendant Classes from

                       prosecuting Plaintiffs, or any of their staff, volunteers, or donors, under the

                       Pre-Roe Statutes and/or the Trigger Ban for any behavior undertaken by

                       Plaintiffs in connection with any abortion that occurs outside the State of

                       Texas; and

                b.     As otherwise necessary to accomplish the results Plaintiffs seeks herein; and

       3.       Declaratory judgment relief:

                a.     That enforcement of the Pre-Roe Statutes against Plaintiffs or any of their

                       staff or volunteers for traveling is unconstitutional because it violates

                       Plaintiffs,’ their staffs,’ and their volunteers’ right to travel;

                b.     That enforcement of the Trigger Ban via the Texas Penal Code provision on

                       Criminal Responsibility for Conduct of Another against Plaintiffs or any of



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                     their staff or volunteers for traveling is unconstitutional because it violates

                     Plaintiffs,’ their staffs,’ and their volunteers’ right to travel;

              c.     That enforcement of the Pre-Roe Statutes against Plaintiffs or any of their

                     staff, volunteers, or donors is unconstitutional because it violates Plaintiffs’

                     right to free speech (including the rights to assemble, associate, and petition)

                     under the United States Constitution by infringing upon:

                             i.      The right to speak out, petition, demonstrate, advocate, and

                                     provide information about abortion and the state of abortion

                                     laws;

                             ii.     The right to offer aid (monetary and otherwise);

                             iii.    The right to political donation;

                             iv.     The right to discuss and associate;

                             v.      The right to contribute;

                             vi.     The right to free expression; and

                             vii.    Freedom of the press and publication of materials by

                                     Plaintiffs;

              d.     That enforcement of the Trigger Ban via the Texas Penal Code provision on

                     Criminal Responsibility for Conduct of Another against Plaintiffs or any of

                     their staff, volunteers, or donors is unconstitutional because it violates

                     Plaintiffs’ right to free speech under the United States Constitution by

                     infringing:




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                            i.       The right to speak out, petition, demonstrate, advocate, and

                                     provide information about abortion and the state of abortion

                                     laws;

                            ii.      The right to offer aid (monetary and otherwise);

                            iii.     The right to political donation;

                            iv.      The right to discuss and associate;

                            v.       The right to contribute;

                            vi.      The right to free expression; and

                            vii.     Freedom of the press and publication of materials by

                                     Plaintiffs;

              e.     That enforcement of the Pre-Roe Statutes and Trigger Ban against Plaintiffs

                     or any of their staff, volunteers or donors for their practical and financial

                     assistance to pregnant Texans is unconstitutional because the statutes are

                     void for vagueness as to the conduct and operations of Plaintiffs;

              f.     That none of the Texas abortion statutes applies to abortions obtained or

                     performed outside of Texas;

              g.     That none of the Texas abortion statutes reaches abortion care provided by

                     a physician licensed in another state, performing care that is lawful in that

                     state, regardless of the physical location of the physician providing

                     telemedicine care;

              h.     That Section 30.022 of the Texas Civil Practice and Remedies Code is

                     unconstitutional because it violates the First Amendment of the U.S.

                     Constitution;


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                i.     That Section 30.022 of the Texas Civil Practice and Remedies Code is

                       preempted under the Supremacy Clause by 42 U.S.C. § 1988;

       4.       The recovery of costs and reasonable attorney fees under 42 U.S.C. § 1988; and,

       5.       Such other and further relief in law or in equity as the Court deems just and proper,

                including but not limited to, an award to Plaintiffs of costs and attorneys’ fees

                incurred in bringing this action.




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 Dated: August 23, 2022                Respectfully submitted,

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